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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,
                Plaintiffs,
      v.

 RUSSELL VOUGHT, in his official capacity             Case No. 25-cv-381-ABJ
 as Acting Director of the Consumer Financial
 Protection Bureau, et al.,

                        Defendants.


  JOINT NOTICE OF AGREEMENT CONCERNING CONTRACT TERMINATIONS

       As directed by the Court, the parties submit this joint notice to inform the Court that they

have extended their agreement respecting contract terminations for an additional seven days,

through March 17, 2025. That agreement is that the parties agree as follows: The Consumer

Financial Protection Bureau (“CFPB”) has frozen and will continue to freeze any and all

termination actions regarding its contracts.1

 Dated: March 7, 2025                              Respectfully submitted,

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       1
        The parties do not agree on whether the freeze of contract terminations covers the
headquarters lease. CFPB’s position is that it does not.
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